Case 1:23-cv-03803-SCJ Document 19 Filed 09/48/23 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

STATE QF GEORGIA Case Number:
Vv.

1:23-CV-03803-SCI
CATHLEEN A, LATHAM et seq.

Defendants. -

DEFENDANT’S AMENDED NOTICE OF WAIVER OF RIGHT TO BE
PRESENT AT EVIDENTIARY HEARING SET FOR
SEPTEMBER 20, 2023

Defendant Cathleen Latham, through the undersigned counsel, hereby Amends
her Notice of Waiver of Right to Be Present At Evidentiary Hearing Set for September
20, 2023 filed September 18, 2023 by affixing her signature to the subject Waiver below
and hereby notifies the Court and the parties that Defendant knowingly and voluntarily
“waives her right to be personally present for the Court’s hearing on Defendant’s Notice
of Removal of State Court Action to Federal Court and Request for Habeas or Equitable
Relief, Doc. # 1, set for Wednesday, September 20, 2023, Doc. # 4. Defendant
understands that she possesses a right to be present at any stage of the proceedings at
which witnesses are to be questioned, and Defendant freely and voluntarily waives that

right, Defendant requests that the Court proceed during her absence, and agrees that her

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interests will be deemed represented at the hearing by the presence of her attorney the
same as if Defendant herself was personally present in Court.

Respectfully submitted, this 18" day of September, 2023.

Acknowledged and agreed to this (Otay of September, 2023.

C4

CATHLEEN LATHAM

CROMWELL LAW, LLC

/s/William Grant Cromwell

William Grant Cromwell

State Bar of Georgia # 197240

400 Galleria Parkway

Suite 1920

Atlanta, Georgia 30339

Phone: (678) 384-5626

Email: bcromwell@cartercromwell.com

Counsel for Mrs. Cathleen A. Latham

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

STATE OF GEORGIA. Case Number:
v.

1:23-CV-03803-SCJ
CATHLEEN A, LATHAM ef seq.

Defendants.

CERTIFICATE OF COMPLIANCE

The undersigned hereby certifies, pursuant to LCivR 7.1(D), that the foregoing
document bas been prepared with one of the font and point selections (Times New
Roman, 14 point) approved by the Court in LCivR 5.1(B).

CROMWELL LAW, LLC

/s/William Grant Cromwell
William Grant Cromwell
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400 Galleria Parkway

Suite 1920

Atlanta, Georgia 30339
Phone: (678) 384-5626

beromwell@cartercromwell.com

Counsel for Mrs. Cathleen A, Latham

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IN THE UNITED STATES DISTRICT COURT
_ FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
STATE OF GEORGIA Case Number: Ke
v. 1:23-CV-03803-SCI

CATHLEEN A. LATHAM ef seq.

Defendants.

CERTIFICATE OF SERVICE

The undersigned hereby certifies that she, this [8th day of September, 2023, the

undersigned served the foregoing document by filing the document via the Court’s Case

Management/Electronic Case Filing (CM/ECF) system, which will automatically serve

notice of such filing on all attorneys of record.

CROMWELL LAW, LLC

AS! William G. Cromwell

WILLIAM G. CROMWELL

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_ Atlanta, Georgia 30339

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